Case 2:04-cV-02398-.]P|\/|-de Document 28 Filed 08/29/05 Page 1 of 3 Page|D 49

IN THE UNITED sTATEs DISTRICT coURT F"'En `BY~ D'°'

FOR THE WESTERN DISTRICT OF TENNESSEE

wEsTERN DIvIsIoN 05 AUG 29 AH "= l19

TMJW\S M‘ M[D
CLERK, U.S§ FEi’BT.”?WDT COLHT
W;D C:r ¥MPHIS

 

TORY LAMONT SHAW,

 

Plaintiff,
vs. No. 04-2398-M1V
LA PETITE ACADEMY, INC.,

Defendant.

 

SCHEDUL ING ORDER

 

Pursuant to written notice, a scheduling conference was held
August 25, 2005. Present were Chris Taylor, counsel for plaintiff,
and W. Judd Peak, counsel for defendant, by telephone. At the
conference, the following dates were established as the final dates
for:

COMPLETING ALL DISCOVERY: Friday, December 30, 2005

(a) DOCUMENT PRODUCTION: Friday, December 30, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: Friday, December 30, 1005

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOS_URE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: Monday, October 31, 2005

(2) DISCLOSURE OF DEFEN'D.ANT'S RULE 26 EXPERT
INFORMATION: Wednesday, November 30, 2005

(3) EXPERT WITNESS DEPOSITIONS:
Friday, December 30, 2005

FILIN'G DISPOSITIVE MOTIONS: Tuesday, Januar'y 31, 2006

Tn!s document entered on the docket sheet ln compliance ; 2 P

With Rule 58 and/Or 79{3) FFICP on '

Case 2:04-cV-02398-.]P|\/|-de Document 28 Filed 08/29/05 Page 2 of 3 Page|D 50

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other filings
that require a response must be filed sufficiently in advance of the
discovery cutoff date to enable opposing counsel to respond by the
time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service of
the response, answer, or objection. which is the subject of the
motion. if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response, answer,
or objection shall be waived.

This case is set for jury trial, and the trial is expected to
last 2-3 days. The pretrial order date, pretrial conference date,
and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation after
the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ. P.
12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the scheduling
dates set by this order will not be modified or extended.

IT IS SO ORDERED.

,<Q,m,.`w “/(. Z¢O@///r

DIANE K. VESCOVO

UNITED s ATEs MAGISTRATE JUD s
DATE= 200

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02398 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

M. Clark Spoden

FROST BROWN TODD LLC
424 Church St.

Ste. 1600

Nashville, TN 372]9

W. Judd Peak

FROST BROWN TODD LLC
424 Church St.

Ste. 1600

Nashville, TN 372 l 9

Christopher L. Taylor
H[LL BOREN

191 Jefferson Ave.
i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

